                   Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 1 of 8                   FILED
                                                                                          2018 Aug-20 PM 01:14
                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT FOR THE
                               NORTHERN DISTRICT OF ALABAMA
                                     SOUTHERN DIVISION

SAMFORD UNIVERSITY,                                        )
                                                           )
              Plaintiff,                                   )
                                                           )
v.                                                         )    Case No. 2:18-cv-01092-JHE
                                                           )
STERICYCLE, INC.,                                          )
                                                           )
              Defendant.                                   )
                                                           )

                                           JOINT RULE 26(f) REPORT

              1.         Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, the

parties met in person on August 7, 2018. The participating counsel were as

follows:

              Plaintiff, Samford University:               Benjamin B. Coulter1
                                                           Jacob Burchfield

              Defendant, Stericycle, Inc.:                 L. Conrad Anderson IV
                                                           Steven C. Corhern

                  (a)    Plaintiff’s brief narrative statement of the facts and the causes of
                         action:
              Plaintiff contracted with Defendant to remove medical waste from several

locations on its campus from 2005 to 2017. Plaintiff alleges that Defendant’s

agents represented to it that the contracts would be flat-fee, and that rates for


              1
                  Coulter participated by telephone.


                                                       1
32233595 v1
                Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 2 of 8



Defendant’s services could only increase for certain, contractually designated

reasons. Defendant, however, knew when it induced Plaintiff to enter into the

contracts that it would impose automated price increases of approximately 18% per

year for no reason other than to increase its revenues. In fact, Defendant’s

imposition of automated price increases was a deliberate scheme perpetrated on its

customers nationwide. Defendant proceeded to charge Plaintiff ever-increasing

fees over a period of several years. Whenever Plaintiff questioned Defendant’s

practices, Defendant concealed the reasons for its price increases and offered

bogus explanations to justify them. Because of Defendant’s fraudulent practices,

Plaintiff continued on as a customer of Defendant for years before it finally

terminated the business relationship in 2017.

              Based on Defendant’s practices described above, Plaintiff brings the

following causes of action: (1) Violations of the Illinois Consumer Fraud and

Deceptive Business Practices Act and Illinois Deceptive Trade Practices Act; (2)

Fraudulent Inducement; (3) Fraud; (4) Fraudulent Suppression; (5) Breach of

Contract; and (6) Unjust Enrichment/Money Had and Received.

              (b)   Defendant’s brief narrative statement of the facts and defenses:
              Stericycle agrees that it had a contract with Plaintiff and contends that this

case is solely about Plaintiff’s alleged breach of that contract. Accordingly,

Plaintiff’s claims for fraud, deceptive business practices, and unjust enrichment


                                                 2
32233595 v1
                   Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 3 of 8



fails as a matter of law. Moreover, Plaintiff waited too long to bring its claims and,

accordingly, they are barred by the statute of limitations.

              Further, Stericycle denies that the alleged price increases were not permitted

by the Parties’ contract. Plaintiff was fully aware of the price increases, which

were disclosed on the Plaintiff’s invoices. Accordingly, Plaintiff’s breach of

contract claim is barred by a number of defenses, including waiver, ratification, the

doctrine of accord and satisfaction, and the voluntary payment doctrine.

              2.       Pre-Discovery Disclosures. The parties will exchange by August 10,

2018, the information required by Federal Rule of Civil Procedure 26(a).

              3.       Discovery Plan.     The parties jointly propose to the Court the

following discovery plan2:

                       Discovery will be needed on the following issues.

                             (1)   Plaintiff’s claims and Defendant’s defenses;
                             (2)   Plaintiff’s alleged damages;

                             (3)   Any expert testimony identified by any party;

                             (4)   Plaintiff’s Position — Plaintiff will seek discovery
                                   including but not limited to the following subjects:

                                              Defendant’s     practice of  imposing
                                         Automated Price Increases on Small Quantity
                                         customers such as Plaintiff.
              2
         The parties agree, to the extent possible, that service of discovery can be perfected by
email, and which does not have to be followed by duplicative service through regular U.S. Mail.
Further, service of pleadings will be perfected upon filing of the pleading with the court’s CM-
ECF system, with no party requiring service by U.S. Mail.

                                                  3
32233595 v1
              Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 4 of 8




                                         Defendant’s policies and procedures for
                                    calculating the prices it charged Small Quantity
                                    customers such as Plaintiff.

                                          Defendant’s sales practices.

                                          Defendant’s representations to Plaintiff and
                                    other similarly situated Small Quantity customers
                                    related to its Steri-Safe Agreement.

                                         Defendant’s actual costs incurred in
                                    providing services to Small Quantity customers
                                    such as Plaintiff.

                                          Defendant’s practices related to its disposal
                                    of “red box” waste.

                                          Defendant’s policies and procedures for
                                    addressing customer questions and complaints
                                    related to its imposition of automated price
                                    increases.

                                          Defendant’s representations to Plaintiff, and
                                    other similarly situated Small Quantity customers,
                                    related to its billing practices, including but not
                                    limited to its reasons for price increases.

                                        Any and all communications between
                                    Defendant and Plaintiff.

                                        Any and all documents related to Plaintiff’s
                                    account with Defendant.

                        (5)   Defendant’s Position — Defendant does not agree that
                              discovery is necessary or appropriate with respect to
                              certain of the subjects listed by Plaintiff (e.g.,
                              representations to, complaints by, or any other activities
                              concerning customers other than the Plaintiff). Defendant
                              will object to such discovery requests in accordance with
                              the Rules, but states its position here to give notice that it
                              does not waive any objections. Defendant will seek


                                              4
32233595 v1
              Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 5 of 8



                               discovery including but not limited to the following
                               subjects: all facts and claims alleged in Plaintiff’s
                               complaint and defenses raised in Defendant’s answer,
                               including but not limited to the contract(s) between
                               Plaintiff and Defendant, communications and
                               correspondence between Plaintiff and Defendant,
                               communications and correspondence between Plaintiff
                               and any third-parties concerning the allegations of the
                               Complaint, the evidentiary basis for each and every
                               allegation of the Plaintiff, including Plaintiff’s claimed
                               damages, and documents relating thereto.

                  (b)   Discovery Plan. The parties jointly propose to the Court the
                        following discovery plan:
                        (i)    All discovery shall be commenced in time to be
                               completed by March 8, 2019.
                        (ii)   A maximum of thirty (30) interrogatories by Plaintiff to
                               Defendant, and a maximum of thirty (30) interrogatories
                               by Defendant to Plaintiff. (Responses due 30 days after
                               service.)

                        (iv) A maximum of thirty (30) requests for admission by
                             Plaintiff to Defendant, and a maximum of thirty (30)
                             requests for admission by Defendant to Plaintiff.
                             (Responses due 30 days after service.)

                        (v)    The maximum number of depositions (whether on oral
                               examination or written questions) that may be taken by
                               Plaintiff or by Defendant is ten (10), excluding experts.

                        (vi)   Reports from retained experts under Rule 26(a)(2) shall
                               be due:

                               (1)   From the Plaintiff by January 11, 2019; and
                               (2)   From the Defendant by February 8, 2019.

                        (vii) Supplementations under Rule 26(e) shall be due as
                              required pursuant to Federal Rule of Civil Procedure 26.


                                              5
32233595 v1
                   Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 6 of 8



                             (viii) Disclosure of discovery of electronically            stored
                                    information (ESI) should be handled as follows:

                                    (1)   The production of ESI should be done in .pdf
                                          format when practicable.

                                    (2)   If any party withholds information claiming a
                                          privilege or protection as trial-preparation material,
                                          that party must make the claim expressly and shall
                                          describe the nature of the documents,
                                          communications or things not produced or
                                          disclosed which will enable other parties to assess
                                          the applicability of the privilege or protection.

                                    (3)   All parties agree to implement the provisions of
                                          Rule 26(b)(5)(B) to protect any information
                                          produced in discovery that is subject to a claim of
                                          privilege or of protection as trial-preparation
                                          material.

                             (ix)   The parties will require entry of a protective order under
                                    Rule 26(c) because some of the documents and
                                    information subject to discovery contains the
                                    Defendant’s trade secrets and other confidential and non-
                                    public commercial information.

              4.       Other Items.

                       (a)   The parties do not request a conference with the court before
                             entry of the scheduling order.

                       (b)   The parties request a pre-trial conference on or about May 10,
                             2019.
                       (c)   Plaintiff should be allowed until November 9, 2018, to join
                             additional parties and amend the pleadings.
                       (d)   Defendant should be allowed until December 7, 2018 to join
                             additional parties and amend the pleadings.



                                                   6
32233595 v1
              Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 7 of 8



                  (e)   All potentially dispositive motions should be filed by April 5,
                        2019.

                  (f)   Settlement of the case may be possible, but at this time
                        alternative dispute resolution procedures do not appear to be
                        necessary. If any of the parties believe the use of alternative
                        dispute resolution procedures may be beneficial in resolving
                        this case, the parties, individually or jointly, will so advise the
                        court.

                  (g)   Witness and Exhibit lists under Rule 26(a)(3) shall be due 30
                        days prior to trial. The parties will have 14 days after receipt
                        of Witness and Exhibit Lists to list objections under Rule
                        26(a)(3).

                  (h)   The case should be ready for trial by June 2019 and trial should
                        take approximately three (3) to four (4) days.
                  (i)   The parties agree that pursuant to Rule 5(b)(2)(E) and 6(d) of
                        the Federal Rules of Civil Procedure any pleadings or other
                        papers may be served by sending such documents by email to
                        the primary and/or secondary email addresses listed below (or
                        any updated email address provided to all counsel of record).
                        The parties also agree, upon request, to promptly (no later than
                        the second business day after the day of service) provide the
                        sending party with confirmation of receipt of the service by
                        email. The format to be used for attachments to any email
                        message shall be Microsoft Word (.doc) or Adobe Acrobat
                        (.pdf). If an error or delayed delivery message is received by
                        the sending party, that party shall promptly (within one
                        business day of receipt of such message) notify the intended
                        recipient of the message and serve the pleading or other papers
                        by other authorized means.

                  (j)   The parties jointly agree that the inadvertent disclosure of any
                        information or document subject to attorney-client privilege or
                        work-product protection does not operate as a waiver in any
                        federal or state proceeding of said privilege or protection. In the
                        event that any information or document subject to the attorney-
                        client privilege or work-product protection is inadvertently
                        disclosed, the party making the inadvertent disclosure will take

                                              7
32233595 v1
              Case 2:18-cv-01092-JHE Document 11 Filed 08/20/18 Page 8 of 8



                       reasonable steps to rectify the error, including the procedure
                       outlined in Fed. R. Civ. P. 26(b)(5)(B). In accordance with Fed.
                       R. Evid. 502, the parties request that the Court’s Scheduling
                       Order provide that any party’s inadvertent disclosure of any
                       information or document subject to the attorney-client privilege
                       or work-product protection connected with this litigation shall
                       not operate as a waiver of the privilege or protection in this or
                       any other federal or state proceeding.



/s/ Benjamin B. Coulter                          /s/ L. Conrad Anderson IV (with
Edward L. Hardin, Jr.                            permission)
Anthony C. Harlow                                L. Conrad Anderson IV
Benjamin B. Coulter                              Steven C. Corhern
Jacob Burchfield                                 BALCH & BINGHAM LLP
BURR & FORMAN LLP                                Post Office Box 306
420 North 20th Street, Suite 3400                Birmingham, AL 35201-0306
Birmingham, AL 35203                             Email: canderson@balch.com
Email:      ehardin@burr.com                              scorhern@balch.com
            tharlow@burr.com                     Counsel for Defendant,
            bcoulter@burr.com                    Stericycle, Inc.
            jburchfield@burr.com
Counsel for Plaintiff,
Samford University




                                             8
32233595 v1
